, 3:24-cv-00094-KHJ-MTP Documeptg| pepariadiA2di diptice Page 1 of 3
Civil Rights Division

Disability Rights Section — 4 Con
950 Pennsylvania Ave, NW
Washington, DC 20530

December 18, 2023

VIA EMAIL:arobinsonlawfirm@yahoo.com

. Terrance Tiller c/o

Abby Robinson, Esq

Abby Robinson & Associates Law Firm, PLE
227 E. Pearl Street

Jackson, MS 39201

Re: | EEOC Charge Against: Jackson Police Department
EEOC No.: 423-2023-00587

Dear Mr. Tiller:

NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

Because you filed the above charge with the Equal Employment Opportunity
Commission, and the Commission has determined that it will not be able to investigate and
conciliate that charge within 180 days of the date the Commission assumed jurisdiction over
the charge, and the Department has determined that it will not file any lawsuit(s) based thereon
within that time, and because you or your attorney has specifically requested this Notice, you
are hereby notified that you have the right to institute a civil action against the above-named
respondent under Title I of the Americans with Disabilities Act of 1990, 42 U.S.C. 12111, et
seq. If you choose to commence a civil action, such suit must be filed in the appropriate court
within 90 days of your receipt of this Notice. This should not be taken to mean that the
Department has made a judgment as to whether or not your charge is meritorious.

If you or your attorney has any questions concerning this matter or wish to inspect the
investigative file, please address your inquiry to: Jackson Area Office, U.S. Equal Employment
Opportunity Commission.

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Enclosed you will find a Notice of Rights under the ADA Amendments Act of 2008
(ADAAA). We are forwarding a copy of this Notice of Right to Sue to the Respondent in this
case.

Sincerely,

Kristen Clarke

Assistant Attorney General
Civil Rights Division

BY:Ceheeta A. Adame-Simmene

Celeste A. Adams-Simmons
Senior Investigator
Disability Rights Section

Enclosures:
Notice of Rights under the ADAAA

ee: Jackson Police Department
EEOC- Jackson Area Office

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ABBY ROBINSON & ASSOCIATE
Law Firm PLLC

“or

DATE OF NOTICE: DECEMBER 19, 2023

DEFENDANTS: THE CITY OF JACKSON, Mayor Chokwe Antar
Lumumba, in his personal and professional [former] Chief of Police James
Davis in his personal and professional capacity, [current] Chief of Police
Joseph Wade in his personal and professional capacity.

Address:

The City of Jackson

219 SOUTH PRESIDENT STREET
JACKSON, MISSISSIPPI 39201

RE: Pursuit to Miss. Code Ann. 11-46—11(1) states that a party must file a
notice of claim with the chief executive officer of a governmental entity 90

days before filing a lawsuit.

Re: Our Client{s]}: TERRANCE TILLER

VIOLATIONS KNOWN AT THE TIME OF THIS NOTICE: Vidlation of
ADA Rights for people with Disabilities, Emotional Distress, Negligent Firing
pursuant to ADA Rights, Bad Faith, Misrepresentation in dealings, Misuse of
governmental authority. =

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Aye aI 19 Td!

Attorney forPlaintiff
Abby Robinson ESQ.

927 E. Pearl St. Jackson, MS 39201 | 601-321-9343 or Fax 487-6326 | Arobinsonlawfirm@yahoo.com |
or abby @askabbylaw.org

